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 4
     Attorney for Defendant CANDY MORRIS
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 6
 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,              )       CR-F-07-0009 LJO
11                                          )
           Plaintiff,                       )       STIPULATION AND REQUEST
12                                          )       FOR ORDER TO CONTINUE
                                                    SENTENCING FROM
13                                          )       APRIL 25, 2008 at 9:00 am to
                                            )       MAY 30, 2008 at 9:00 am
14                                          )
                                            )
15         v.                               )       New Date: May 30, 2008
                                            )       Time: 9:00 a.m.
16                                          )       Dept: LJO
     CANDY MORRIS, et al.                   )
17                                          )
                                            )
18         Defendant.                       )
                                            )
19
           IT is hereby stipulated between counsel for the government and counsel for
20
     Defendant that the sentencing date previously set for April 25, 2008 at 9:00 a.m.
21
     be re-set to May 30, 2008 at 9:00 a.m., as AUSA Karen Escobar is not available
22
     on Friday, April 25, 2008 and as the sentencing needs to follow the disposition of
23
     codefendants’ case.
24
25
     DATE: April 24, 2008            /s/ Katherine Hart
26                                   KATHERINE HART
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28                                              1
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 1
 2   DATED: April 24, 2008          /s/ Karen Escobar
                                    KAREN ESCOBAR, ASSISTANT UNITED
 3                                  STATES ATTORNEY
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 5
 6                                      ORDER
 7   Good cause exists for the requested continuance based on the stipulation between
 8   counsel, and specifically due to counsel illness, it is hereby ordered that the
 9   sentencing date in the case of United States v. Candy Morris, Case No. CR-F-07-
10   0009 LJO be continued from April 28, 2008 to May 30, 2008 at 9:00 a.m.
11
12   IT IS SO ORDERED.
13   Dated:    April 24, 2008              /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
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